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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 25, 2021:


          MINUTE entry before the Honorable Harry D. Leinenweber: Telephonic status
hearing held and continued to 7/15/21 at 9:00 a.m. Telephonic status hearing set for
8/12/21 is vacated. Defendants waive appearances. Parties to confer regarding a proposed
new trial date and submit their proposal to the Court on or before 7/8/21. The parties are
still to file a joint proposed jury questionnaire or competing proposed jury questionnaires
on or before 7/29/21. Mailed notice (maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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